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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA

                                            CRIMINAL MINUTES - GENERAL



 Case No.         SACR 15-00122-JLS                                                              Date     August 12, 2016


 Present: The Honorable         JOSEPHINE L. STATON, U.S. DISTRICT JUDGE
 Interpreter       NONE

               Terry Guerrero                      Deborah Parker                       Annamartine Salick and Melissa Mills
                Deputy Clerk                    Court Reporter/Recorder                            Assistant U.S. Attorney



                 U.S.A. v. Defendant(s):         Present Cust. Bond            Attorneys for Defendants:           Present App. Ret.

                                                                          Marri Derby, CJA                             X        X
 PETER RONALD WEXLER                               X       X              Caleb Mason, Pro Bono                        X



 Proceedings:        STATUS CONFERENCE AND HEARING RE MOTIONS/MOTION IN LIMINE

         Hearing held. Oral arguments heard. Court rules as follows, with formal order to issue: Government's Motion
in Limine to Preclude: (1) Admission of Any Late or Undisclosed Reciprocal Discovery; (2) Testimony From Any
Unnoticed Expert Witnesses; and (3) Admission At Trial of Any Unnoticed Affirmative Defenses, Including Mental
Health or Defect Defense [69], deemed resolved, pending any specific issue raised with the Court; Government's
Motion in Limine to Admit Evidence as Inextricably Intertwined [70], taken under submission; Government's Motion
in Limine to Admit Evidence of the Schrade SCHF9 Knife [72], counsel shall meet and confer and file status report or
stipulation, no later than 8/17/2016; Government's Motion in Limine to Preclude the Introduction of Improper
Argument at Trial Regarding the Allegedly Conditional Nature of Defendant's Threats [74], denied; Government's
Motion to Preclude the Testimony of Defendant's Proposed Experts, Dr. Manuel Saint Martin, Mr. Mike Masnick, and
Professor Don Abbott, or in the Alternative, to Limit Dr. Saint Martin's Testimony and a Request for a Daubert
Hearing on All Purported Experts [122], granted in-part, denied in-part; Government's Motion for Reconsideration of
the Court's Order Denying the Government's Request for Prior Mental Health Examinations [123], denied;
Defendant's Motion for Extended Attorney Voir Dire [124], denied; Defendant's Motion to Remove All Shackles
During Trial [125], taken under submission; Defendant's Motion for Notice of Intent to Use Evidence in
Case-In-Chief at Trial [126]; the Government shall provide the witness list and exhibit list, no later than August 17,
2016, 12:00 p.m.

        Defendant made oral motion for sanctions. Oral arguments heard. Court orders counsel to meet and confer. If
filed, written motion shall address areas as set forth by the Court.

      Government requests offer of proof as to four FBI agents subpoenaed by defense. Counsel to meet and confer.
Government may move to preclude.

         Status Conference held. Court and counsel confer regarding trial rules and procedures.
                                                                                                        MTNS       :         1.05
                                                                                                         SC                   .15

                                                                      Initials of Deputy Clerk     tg




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